                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

MONIQUE DA SILVA MOORE,               )
MARYELLEN O’DONOHUE,                  )
LAURIE MAYERS, HEATHER                )
PIERCE, and KATHERINE                 )
WILKINSON on behalf of themselves     )                 Civ No. 11-CV-1279 (ALC) (AJP)
and all others similarly situated,    )
                                      )
      PLAINTIFFS,                     )
                                      )
      v.                              )
                                      )
PUBLICIS GROUPE SA and                )
MSLGROUP,                             )
                                      )
      DEFENDANTS.                     )
______________________________________)

  DECLARATION OF STEVEN L. WITTELS IN SUPPORT OF PLAINTIFFS’ MOTION
                 FOR RECUSAL OR DISQUALIFICATION

       STEVEN L. WITTELS, an attorney duly admitted to practice law in the State of New York, in

the Southern District of New York, states as follows:

     1. My firm represents the Plaintiffs in the above-referenced action.

     2. Annexed to this declaration as “Exhibit A” is a true and correct copy of an excerpt (22:18-

         23:15) of a podcast of a panel on predictive coding hosted by ReviewLess on January 11,

         2012. The podcast was downloaded from http://www.esibytes.com/?p=2122, where it is

         available in its entirety.

         [This audio file will not be filed on ECF but delivered to the Court with Plaintiffs’ courtesy

         copy of the motion and will be separately served on Defendants.]

     3. Annexed to this declaration as “Exhibit B” is a true and correct copy of an excerpt of a video

         recording of a panel at the LegalTech trade show on January 31, 2012 entitled “Judicial
   Perspectives on Technology-Assisted Review.” The recording was downloaded from

   https://www.brainshark.com/xerox/Tech-AssistedReview, where it is available in its entirety.

   [This audio file will not be filed on ECF but delivered to the Court with Plaintiffs’ courtesy

   copy of the motion and will be separately served on Defendants.]

4. Annexed to this declaration as “Exhibit C” is a true and correct copy of a blog entry by Ralph

   Losey, dated January 22, 2012.

5. Annexed to this declaration as “Exhibit D” is a true and correct copy of an agenda of the

   January 30, 2012 LegalTech Conference in New York.

6. Annexed to this declaration as “Exhibit E” is a true and correct copy of a blog entry by Ralph

   Losey, dated January 29, 2012.

7. Annexed to this declaration as “Exhibit F” is a true and correct copy of an agenda of the

   January 31, 2012 LegalTech Conference in New York.

8. Annexed to this Declaration as “Exhibit G” is a true and correct copy of a letter from Steven

   L. Wittels and Janette Wipper to Judge Peck, dated March 28, 2012.

9. Annexed to this declaration as “Exhibit H” is a true and correct copy of a blog post by Chris

   La Cour, dated January 4, 2012.

10. Annexed to this declaration as “Exhibit I” is a true and correct copy of promotional materials

   for the Georgetown Law CLE 8th Annual Advanced eDiscovery Institute Conference,

   November 17 – 18, 2011.

11. Annexed to this declaration as “Exhibit J” is a true and correct copy of a blog entry by Ralph

   Losey, dated October 4, 2009.

12. Annexed to this declaration as “Exhibit K” is a true and correct copy of a blog entry by Ralph

   Losey, dated October 16, 2011.




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13. Annexed to this declaration as “Exhibit L” is a true and correct copy of a blog entry by Judge

   Peck and David J. Lender, dated April 3, 2011.

14. Annexed to this declaration as “Exhibit M” is a true and correct copy of a blog entry by Law

   Technology News, dated March 15, 2012.

15. Annexed to this declaration as “Exhibit N” is a true and correct copy of the Missouri

   Committee on Retirement, Removal and Discipline Opinion 179 (2001).

16. Annexed to this declaration as “Exhibit O” is a true and correct copy of a list of sponsors of

   the 2012 LegalTech Conference in New York.

17. Annexed to this declaration as “Exhibit P” is a true and correct copy of a blog entry by Chris

   Dale, dated February 27, 2012.

18. Annexed to this declaration as “Exhibit Q” is a true and correct copy of a blog entry by

   Recommind, dated February 27, 2012.

19. Annexed to this declaration as “Exhibit R” is a true and correct copy of a press release from

   Recommind, dated March 5, 2012.

20. Annexed to this Declaration as “Exhibit S” is a true and correct copy of the Committee on

   Codes of Conduct Advisory Opinion No. 67, from the Guide to Judiciary Policy, Vol. 2B, Ch.

   2, also available at http://www.uscourts.gov/uscourts/RulesAndPolicies/conduct/Vol02B-

   Ch02.pdf.

21. Annexed to this Declaration as “Exhibit T” is a true and correct copy of the Committee on

   Codes of Conduct Advisory Opinion No. 87, from the Guide to Judiciary Policy, Vol. 2B, Ch.

   2, also available at http://www.uscourts.gov/uscourts/RulesAndPolicies/conduct/Vol02B-

   Ch02.pdf.

22. Annexed to this Declaration as “Exhibit U” is a true and correct copy of the Committee on




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   Codes of Conduct Advisory Opinion No. 105, from the Guide to Judiciary Policy, Vol. 2B,

   Ch. 2, also available at http://www.uscourts.gov/uscourts/RulesAndPolicies/conduct/Vol02B-

   Ch02.pdf.

23. Annexed to this declaration as “Exhibit V” is a true and correct copy of promotional materials

    for the Georgetown Law CLE 6th Annual Advanced eDiscovery Institute Conference,

    November 12-13, 2009.

24. Annexed to this declaration as “Exhibit W” is a true and correct copy of promotional materials

    for the Georgetown Law CLE 7th Annual Advanced eDiscovery Institute Conference,

    November 18-19, 2010.

25. Annexed to this declaration as “Exhibit X” is a true and correct copy of an agenda for the 7th

    Annual Information Governance and eDisclosure Summit, May 14-16, 2012.

26. Annexed to this declaration as “Exhibit Y” is a true and correct copy of a blog post by

    Recommind, dated March 26, 2012.

27. Annexed to this Declaration as “Exhibit Z” is a true and correct copy of a letter from Brett M.

   Anders to Judge Peck, dated January 25, 2012.

28. Annexed to this Declaration as “Exhibit AA” is a true and correct copy of the opinion of the

    New York State Commission on Judicial Conduct in Matter of Huttner (2005), also available

    at http://www.scjc.state.ny.us/Determinations/H/huttner_%282%29.htm.

29. Annexed to this Declaration as “Exhibit BB” is a true and correct copy of In re Slusher,

    Stipulation, Agreement, Order of Admonishment (Wash. Comm'n on Jud. Conduct Apr. 1,

    1994),                         also                        available                         at

    http://www.cjc.state.wa.us/Case%20Material/1994/1518%20Stipulation.pdf.




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    30. Annexed to this Declaration as “Exhibit CC” is a true and correct copy of Judge Peck’s

       Financial Disclosure Report for Calendar Year 2010.


I DECLARE UNDER THE PENALTIES OF PERJURY THAT THE FOREGOING IS TRUE AND
ACCURATE TO THE BEST OF MY KNOWLEDGE AND BELIEF.

Dated: April 13, 2012

      New York, New York

                                                             /s/ Steven . Wittels

                                                             Steven L. Wittels




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